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                                                 May 19, 2021

VIA ELECTRONIC FILING

The Honorable Leonard P. Stark
U.S. District Court for the District of Delaware
844 North King Street
Wilmington, DE 19801

                  Re:         Crystallex International Corp. v. Bolivarian Republic of Venezuela,
                              C.A. No. 17-mc-151-LPS

Dear Chief Judge Stark:

              CITGO Petroleum Corporation (“CITGO”) and PDV Holding, Inc. (“PDVH”)
support the Special Master’s Proposed Order, but make the following request to clarify language
in Paragraph 11 of the proposed Order. D.I. 265-1.

               CITGO and PDVH are committed to ensuring that, subject to OFAC authorization,
the one-third of the Special Master’s compensation contemplated in the proposed order to be paid
by the “Venezuela Parties” is paid, but because it is not yet clear which entity will make the
payments, CITGO and PDVH request the following revision to the proposed order for clarification
and accuracy:

 Paragraph in Proposed Order (D.I. 265-1)                Requested Revision
 11. Compensation of the Special Master. The             11. Compensation of the Special Master. The
 Special Master shall be compensated at his              Special Master shall be compensated at his
 usual hourly rate of $950 per hour and shall            usual hourly rate of $950 per hour and shall
 also be reimbursed for reasonable travel and            also be reimbursed for reasonable travel and
 other expenses incurred in the performance of           other expenses incurred in the performance of
 his duties. Crystallex, ConocoPhillips, and the         his duties. Upon approval by the Court, the
 Venezuela Parties shall, upon approval by the           cost of the Special Master and his Advisors’
 Court, bear the cost of the Special Master and          compensation shall be borne equally, in one-
                                                         third shares, by Crystallex, ConocoPhillips,
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The Honorable Leonard P. Stark
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 his Advisors’ compensation equally, with         and the Venezuela Parties (one or more of the
 each contributing one-third.                     Venezuela Parties paying, in total, a one-third
                                                  share).Crystallex, ConocoPhillips, and one or
                                                  more of the Venezuela Parties shall, upon
                                                  approval by the Court, bear the cost of the
                                                  Special Master and his Advisors’
                                                  compensation equally, with each contributing
                                                  one-third.


                                              Respectfully,

                                              /s/ Kenneth J. Nachbar

                                              Kenneth J. Nachbar (#2067)

KJN/saz

cc:    All Counsel of Record (Via E-Filing)
